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                                                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                                                                      EASTERN DISTRICT OF LOUISIANA

	  
       IN RE: OIL SPILL by the OIL RIG                                                                                                                                                                                                                                                                              *               MDL NO. 2179
       “DEEPWATER HORIZON” in the                                                                                                                                                                                                                                                                                   *
       GULF OF MEXICO, on APRIL 20, 2010                                                                                                                                                                                                                                                                            *               CIVIL ACTION NO. 2:10-MD-02179
                                                                                                                                                                                                                                                                                                                                    SECTION: J
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       THIS DOCUMENT RELATES TO:                                                                                                                                                                                                                                                                                     *              JUDGE BARBIER
                                                                                                                                                                                                                                                                                                                                    MAG. JUDGE SHUSHAN
       Applies to: All cases in B3 Pleading Bundle
       ********************************************************************

                                                                                                                                                                                                                                                                                                                   ORDER

                                                      IT IS ORDERED that Plaintiff Malcolm’s Coco Motion to File Supplemental Brief is

       granted and the Clerk is directed to file that pleading into the record of this case.



                                                      New Orleans, Louisiana, this _____ day ________________ , 2012.



                                                                                                                                                                                                                                                                                                                                    __________________________________
                                                                                                                                                                                                                                                                                                                                    UNITED STATES DISTRICT JUDGE	  




	  
